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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW HAMPSHIRE


John Doe

       v.                                   Civil No. 19-cv-13-JL

Trustees of Dartmouth College


                                MEMORANDUM ORDER

       John Doe’s motion for an expedited trial,1 filed almost two

full weeks after the February 1, 2019 telephone conference at

which it was discussed, and before which the parties had not

conferred about the case schedule, is DENIED.              The court’s

willingness to consider an expedited schedule was premised on

trying this case to a verdict prior to the beginning of

Dartmouth’s Summer 2019 term, so as to allow Doe to graduate on

time should he prevail.

       Such a timeframe does not appear logistically feasible at

this juncture without Dartmouth’s assent, which — unfortunately

— does not appear forthcoming in this case.             Nor has good cause

for extraordinarily expedited relief been established.               See 28

U.S.C. § 1657(a).




1   Document no. 31.
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      SO ORDERED.



                                    ____________________________
                                    Joseph N. Laplante
                                    United States District Judge

Dated:   February 20, 2019

cc:   Alexander William Campbell, Esq.
      Suzanne Amy Spencer, Esq.
      William E. Christie, Esq.
      Daryl J. Lapp, Esq.
      Elizabeth H. Kelly, Esq.
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